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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                   CASE NO: 4:17MJ3131
      vs.

AUBREY CLIFTON TRAIL,                              DETENTION ORDER
              Defendant.

      The defendant poses a serious risk of flight if released.           On the
government's motion, the court afforded the defendant an opportunity for a
detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court
concludes the defendant must be detained.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public.

      Specifically, the court finds that the defendant uses aliases to conceal his
identity, travelled outside Nebraska (and was ultimately arrested in Missouri)
while law enforcement officers were attempting to find him, was travelling with
Bailey Boswell who stated she was leaving the country, has a criminal history
which includes assault with a motor vehicle, attempt to allude and failure to obey
a lawful order, robbery, and felony escape, successfully arranged for the
purchase of a gun despite his felony record, has threatened harm to others, and
presented no evidence opposing detention. Conditions which restrict Defendant’s
travel, personal contacts, and possession of drugs, alcohol, and/or firearms;
require reporting, education, employment, or treatment; or monitor Defendant’s
movements or conduct; or any combination of these conditions or others
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currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently
ameliorate the risks posed if the defendant is released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated December 8, 2017.

                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
